Case 18-60054-pmb            Doc 18       Filed 08/21/18 Entered 08/21/18 14:56:12                       Desc Main
                                          Document     Page 1 of 1


                                            LAW OFFICES
                                 McCALLA RAYMER LEIBERT PIERCE, LLC
                                     BANKRUPTCY DEPARTMENT
                                         1544 Old Alabama Road
                                           Roswell, GA 30076
                                       TELEPHONE: 770-643-7200
                                        TELEFAX: 866-761-0279
                                            1-800-275-7171

                                                  August 21, 2018

Clerk, United States Bankruptcy Court
75 Ted Turner Drive S.W., Suite 1340
Atlanta, GA 30303

                                   REQUEST FOR SERVICE OF NOTICES
      RE:
                      Debtor                                 Dana Michelle Valorie
                      Case Number                            18-60054
                      Chapter                                13
                      Secured Creditor                       Wells Fargo Bank, N.A.
                      Loan Number                            XXXXXX2727
Dear Sir / Madam:

            Would you be so kind as to add the following interested party to the mailing / service list in the above
   referenced case:

              Wells Fargo Bank, N.A.
              c/o McCALLA RAYMER LEIBERT PIERCE, LLC
              Bankruptcy Department
              1544 Old Alabama Road
              Roswell, GA 30076

            Please provide us with a copy of each notice of any proceeding, hearing and/or report in this matter
   including, but not limited to notices required by Bankruptcy Rules 2002(g) and the Local Rules of the
   Bankruptcy Court.

            We appreciate your courtesy in this matter. If you have any questions, please do not hesitate to call me.

                                                      Very Truly Yours,

                                                      /s/ A. Michelle Hart Ippoliti
                                                      c/o McCALLA RAYMER LEIBERT PIERCE, LLC
                                                      1544 Old Alabama Road
                                                      Roswell, GA 30076
                                                      Phone: 678-281-6537
                                                      Email: Michelle.HartIppoliti@mccalla.com
                                                      Attorney Bar No: 334291
